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 1                                UNITED STATES DISTRICT COURT
 2                                       DISTRICT OF NEVADA
 3                                                  ***
 4    UNITED STATES OF AMERICA,                                Case No. 2:20-cr-00151-JAD-EJY
 5                   Plaintiff,
                                                                            ORDER
 6          v.
 7    SHAWN MICHAEL MCCOWAN,
 8                   Defendant.
 9

10          Before the Court is the Motion to Withdraw as Counsel of Record filed by Brandon C. Verde,
11   Esq. and Peter Isso, Esq. of Isso & Associates Law Firm. ECF No. 24. Defendant Shawn Michael
12   McCowan has filed a Motion to Dismiss Counsel for the Defense (ECF No. 25) and Motion to
13   Appoint New Counsel (ECF No. 26).
14          A review of these filings confirms that Defendant and counsel have clearly developed
15   irreconcilable difference with respect on how to proceed with Defendant’s defense. The Court
16   therefore finds that no hearing is necessary to discuss these motions and that each should be granted.
17          Accordingly,
18          IT IS HEREBY ORDERED that the Motion to Withdraw as Counsel of Record filed by
19   Brandon C. Verde, Esq. and Peter Isso, Esq. of Isso & Associates Law Firm (ECF No. 24) is
20   GRANTED.
21          IT IS FURTHER ORDERED that Defendant Shawn Michael McCowan’s Motion to Dismiss
22   Counsel for the Defense (ECF No. 25) is GRANTED.
23          IT IS FURTHER ORDERED that Defendant Shawn Michael McCowan’s Motion to Appoint
24   New Counsel (ECF No. 26) is GRANTED.
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 1          IT IS FURTHER ORDERED that CJA counsel is to be appointed for Defendant. If new

 2   counsel has any conflicts or issue in accepting this case, they are to promptly notify this Court so a

 3   hearing can be set. New counsel is to promptly contact the Isso & Associates Law Firm, PLLC to

 4   make all necessary arrangements to transfer the files and information to new counsel.

 5          Dated this 2nd day of October, 2020

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                                                   ELAYNA J. YOUCHAH
 9                                                 UNITED STATES MAGISTRATE JUDGE
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